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                       UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF MICHIGAN, SOUTHERN DIVISION

JANE DOE,

       Plaintiff,                                      Case No. 1:17-cv-00317

v.                                                     HON. PAUL L. MALONEY

CENTREVILLE PUBLIC SCHOOLS,
And in their individual and official capacities,
TERRY MILLER, BARBARA LESTER,
and ROB KUHLMAN,

       Defendants.
______________________________________________________________________________
 Nicholas Roumel (P37056)            Timothy J. Mullins (P28021)
 Attorney for Plaintiff              Kenneth B. Chapie (P66148)
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______________________________________________________________________________

                                   JOINT STATUS REPORT

       A Rule 16 Scheduling Conference is scheduled for August 21, 2017, at 9:00 AM before

Hon. Paul L. Maloney (by telephone). Participating for the parties as counsel will be Nicholas

Roumel for plaintiff, Timothy J. Mullins for defendants Centreville Public Schools and defendants

Lester and Kuhlman, and Mark T. Ostrowski for defendant Miller.

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       1.      Jurisdiction:     The jurisdiction of this Court for the federal claims is invoked

pursuant to 28 U.S.C. §§1331, 1343(a)(3), 1343(a)(4), 2201 and 2202; Title IX of the Education

Amendments of 1972, 20 U.S.C. §1681 et seq.; and 42 U.S.C. §1983. There is pendent jurisdiction

over the state of Michigan claims pursuant to 28 U.S.C. § 1367. The state law claims are based on

violations of the Elliott-Larsen Civil Rights Act, MCL § 37.2101 et seq., and common law.

               Objections to Jurisdiction:

       2.      Jury or Non−jury: This case is to be tried before a jury.

       3.      Judicial Availability: Pursuant to 28 USC § 636 (c), the parties agree have a

United States Magistrate Judge hear non-dispositive motions and resolve discovery disputes, and

to conduct settlement conferences. The parties do not agree to have a Magistrate Judge hear

dispositive motions or trial.

       4.      Statement of the Case:

               Plaintiff’s Claims: “Jane Doe” proceeds pseudononymously, due to her status as a

       sexual assault survivor. She was sexually harassed over a three-year period by defendant

       Miller, a teacher and “father figure” who took advantage of her trust, along with his

       contemporaneous harassment of at least two other students at the Centreville School

       District. The district had documented, in previous years, two additional complaints of

       extremely similar sexual harassment (five victims total). Despite those previous

       complaints, they did not discipline Miller; and defendant Lester gave him glowing

       evaluations and recommended him for tenure. Moreover, defendant Lester, the district’s

       nominal Title IX coordinator, and defendant Kuhlman, the superintendent, utterly failed to

       implement legally required Title IX policies, to the detriment of Jane Doe and the three

       subsequent victims of Terry Miller.



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           Miller’s employment was terminated because of Jane’s report, and there was a

    police investigation and criminal proceedings, recently resulting in Miller’s no contest plea

    to a sexual assault on Jane. A significant portion of the Centreville school community

    supported Miller throughout these proceedings in very public ways, such as attendance at

    court hearings and through social media campaigns. They also retaliated against Jane for

    turning in this popular teacher and coach, resulting in Jane leaving Centreville Schools to

    finish high school. Defendants did nothing to discourage such retaliation, and were

    deliberately indifferent to it as they were to the harassment itself.

           Jane suffered and continues to suffer tremendous emotional damages as a result of

    defendants’ conduct and deliberate indifference to her legal rights.

           Defenses of Defendant Centreville Public Schools, Lester and Kuhlman:

           Defendants Centerville Public Schools, Lester, and Kuhlman deny that they

    discriminated against Jane Doe, or any other students. Jane Doe was not subjected to

    severe or pervasive harassment or treated differently than similarly situated male students.

    Additionally, Defendants responded to alleged known acts of harassment appropriately.

    Once informed of Plaintiff’s allegations, the school district conducted an investigation and

    terminated the teacher’s employment with the school district. Plaintiff’s allegations

    regarding the school district’s Title IX policies are false.

           Defenses of Defendant Miller: Defendant Terry Miller denies any inappropriate

    conduct directed toward plaintiff and/or any other students. His no-contest plea to the

    criminal charges is not admissible in evidence and was entered solely because he was

    offered a plea agreement which guaranteed no jail time. In addition, the allegations of

    other students are irrelevant, highly prejudicial, and likewise inadmissible.


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       5.      Prospects of Settlement: While settlement discussions have taken place, no

formal negotiations have occurred, and there has not been significant progress to date.

       6.      Pendent State Claims: This case does include pendent state claims under the

Elliott-Larsen Civil Rights Act and common law (see paragraph 1 above).

       7.      Joinder of Parties and Amendment of Pleadings: The parties expect to file

all motions for joinder of parties to this action and to file all motions to amend the pleadings

by October 15, 2017.

       8.      Disclosures and Exchanges:

       (a)     The parties propose the following schedule for Rule 26(a)(1) disclosures: each

party will make such disclosures by October 15, 2017.

       (b)     The parties propose the following schedule for Rule 26(a)(2) disclosures:

Plaintiff expects to be able to furnish the names of plaintiff's expert witnesses by December

15, 2017. Defendants expect to be able to furnish the names of the defendant’s expert witnesses

by January 15, 2018.

       It would be advisable in this case to exchange written expert witness reports as

contemplated by Fed. R. Civ. P. 26(a)(2). Reports, if required, should be exchanged

according to the following schedule:

       Plaintiff expects to be able to furnish the reports of plaintiff's expert witnesses within

30 days after the decision on any final dispositive motion. Defendants expect to be able to

furnish the reports of the defendant’s expert witnesses 30 days after receipt of plaintiff’s reports.

        The parties have agreed to make available the following documents without the need

of a formal request for production:




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       From plaintiff to defendants: Criminal file obtained from prosecutor (voluminous and may

be available for inspection).

       From defendants to plaintiff:

       9.      Discovery: The parties believe that all discovery proceedings can be

completed by May 15, 2018, except that depositions of expert witnesses, if any, should be allowed

up to 30 days prior to trial. The parties recommend the following discovery plan:

               (a)     Plaintiff will seek factual discovery, including but not limited to the

       occurrences as alleged in the complaint, the identity and expected testimony of

       witnesses, both lay and expert.

               (b)     Defendants will seek factual discovery, including but not limited to the

       allegations contained in Plaintiff’s complaint, liability, damages, expert opinions.

               (c)     Limits: The parties agree to limit interrogatories to 25 questions

       including subparts from plaintiff, and from each defendant. The parties agree to limit

       depositions to 10 for plaintiff, and 10 combined from defendants (five each or as

       otherwise agreed). Depositions shall be limited to 7 hours. There is no limit on requests

       for production or things and requests for admissions.

       (d) Protective Order: Plaintiff will seek a strict protective order regarding her medical

and mental health records.

       10.     Disclosure or Discovery of Electronically Stored Information: The parties

have discussed the production of electronically stored information and suggest that such

information be handled as follows: preserve all electronically stored data and produce it in

electronic form, or if not voluminous, may be produced in paper form. Upon agreement, or the

absence of agreement upon a finding of good cause by the court, the parties will permit



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inspection of computers, servers and the like by expert witnesses under appropriate terms and

conditions. Defendants request that Plaintiff preserve all social media posts, texts, and other

electronically stored information.

       11.     Assertion of Claims of Privilege or Work−Product Immunity After

Production: The parties have agreed to the following procedure to address claims of privilege

or work product immunity for items inadvertently produced during discovery: The parties will

confer and upon request, the item will be returned with no copies being retained and no use of

the information particular to said documents.

       12.     Motions: The parties acknowledge that W.D. Mich. LCivR 7.1(d) requires the

moving party to ascertain whether the motion will be opposed. All nondispositive motions shall

be accompanied by a separately filed certificate setting forth in detail the efforts of the moving

party to comply with the obligation created by Rule 7.1(d).

       The following dispositive motions are contemplated by each party:

       Plaintiff: None

       Defendants Centreville Public Schools, Lester and Kuhlman: Defendants anticipate that

they will file a motion for summary judgment under Fed. R. Civ. P. 56.

       Defendant Miller: Defendant Miller anticipates filing a F.R.C.P. Rule 56 (c) Motion for

Summary Judgment following the close of discovery.

       13.     Alternative Dispute Resolution: The parties recommend that this case be

submitted to the following method(s) of alternative dispute resolution:

               Plaintiff supports voluntary facilitative mediation (W.D. Mich. LCivR 16.3),

       early neutral evaluation (W.D. Mich. LCivR 16.4), and/or case evaluation without the

       rejecting party’s liability for costs. (MCR 2.403 and W.D. Mich. LCivR 16.5). Plaintiff



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       will also consent to a settlement conference with the judge or magistrate. Plaintiff is open

       to the first two methods of ADR at any time; the latter two should take place after

       discovery but before dispositive motions.

               Defendants Centreville Public Schools, Lester and Kuhlman do not object to

       facilitation or a settlement conference with the judge or magistrate.

               Defendant Miller would agree to participate in voluntary facilitative mediation.

       Defendant Miller is not agreeable to any other form of ADR.

       14. Length of Trial:          Counsel estimate the trial will last approximately 7-12

days total, allocated as follows: 1-2 days for jury selection and argument, 3-5 days for plaintiff's

case, 3-5 days for defendants’ case.

       15. Electronic Document Filing System: Counsel are reminded that Local Civil Rule

5.7(a) requires attorneys to file and serve all documents electronically, by means of the Court's

CM/ECF system, unless the attorney has been specifically exempted by the Court for cause or a

particular document is not eligible for electronic filing under the rule. The Court expects all

counsel to abide by the requirements of this rule. Pro se parties (litigants representing themselves

without the assistance of a lawyer) must submit their documents to the Clerk on paper, in a form

complying with the requirements of the local rules. Counsel opposing a pro se party must file

documents electronically.

       16. Other: Defendant Miller anticipates filing Motions in Limine to exclude any

reference to his no-contest plea to the criminal charges and to exclude reference to any

allegations by students other than plaintiff.




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Respectfully submitted:

Attorneys for Plaintiff:           Attorneys for Centreville Public Schools,
                                    Barbara Lester, and Rob Kuhlman:

s/Nicholas Roumel                  s/Kenneth B. Chapie (w/permission NR)
________________________           ________________________
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August 16, 2017                    August 16, 2017

                                   s/Mark T. Ostrowski (w/permission NR)
                                   _________________________
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                                   August 16, 2017




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